     Case 3:11-cr-04963-WQH                    Document 217             Filed 10/20/14                PageID.592                 Page 1 of 2


     ..AO 245D   (Rev. 3/01) Judgment in a Criminal Case for Revocations
                 Sheet 1
                                                                                                                  11. OCT 20 PI1 3: 28
                                         UNITED STATES DISTRICT COURT.                                           : l~~   "-.   [1;;. Uh r;I~CT CGlHU
                     SOUTHERN                                     District of                                   CALI'FbiiffiA" C.lLifoHHlf.
                   UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE                                          OfiPllT Y
                                    V.                                     (For Revocation of Probation or Supervised Release)
                 BENJAMIN JOSEPH BIELASZ (5)                               (For Offenses Committed On or After November I, 1987)


                                                                           Case Number: II CR4963-WQH
                                                                           CRAIG SMITH, FEDERAL DEFENDERS
                                                                           Defendant's Attorney
    REGISTRATION No. 29193298
D
    THE DEFENDANT:
     o  admitted guilt to violation ofallegation(s) No.     1-3
                                                          -----------------
     D was found in violation ofallegation(s) No.                                                   after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty ofthe following allegation(s):


    Allegation Number           Nature of Violation
            1-3       Unlawful use of controlled substance (nv3)




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through                  2        of this judgment.
    This sentence is imposed pursuant to the Sentencing Refonll Act of 1984.


              IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of anI'
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by thIS judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Untted States attorney of any material change in the
    defendant's economic circumstances.

                                                                          OVTOBER 20, 2014
                                                                          Date of Imposition of Sentence




                                                                                                                                     llCR4963-WQH
  Case 3:11-cr-04963-WQH                             Document 217         Filed 10/20/14     PageID.593           Page 2 of 2

AO 245B      (Rev. 9/00) Judgment in Criminal Case
             Sheet 2 - Imprisonment

                                                                                                Judgment - Page _..:2,- of         2
DEFENDANT: BENJAMIN JOSEPH BIELASZ (5)
CASE NUMBER: IICR4963-WQH
                                                              IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
           6 months



   D The      COUlt makes the following recommendations to the Bureau of Prisons:




   D The defendant is remanded to the custody of the United States Marshal.
   D The defendant shall surrender to the United States Marshal for this district:
            Oat                                       Do·m.    []p.m.     on
                as notified by the United States Marshal.

   D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           D as notified by the United States Marshal.
           D as notified by' the Probation or Pretrial Services Office.

                                                                 RETURN

I have executed this judgment as follows:

          Defendant delivered on                                                  to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ • with a certified copy of this judgment.


                                                                                             UNITED STAlES MARSHAL


                                                                        By
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                      II CR4963-WQH
